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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                          x
RANDY ZORNBERG, Individually and on       :   Civil Action No. 1:23-cv-06465-BMC
Behalf of All Others Similarly Situated,  :
                                          :   CLASS ACTION
                              Plaintiff,  :
                                          :   AMENDED COMPLAINT FOR
       vs.                                :   VIOLATIONS OF THE
                                          :   FEDERAL SECURITIES LAWS
NAPCO SECURITY TECHNOLOGIES, INC., :
RICHARD L. SOLOWAY, KEVIN S.              :
BUCHEL, PAUL STEPHEN BEEBER, RICK :
LAZIO, DONNA SOLOWAY, ROBERT              :
UNGAR, ANDREW J. WILDER, NEEDHAM :
& COMPANY, LLC, and WILLIAM BLAIR :
& COMPANY, L.L.C.,                        :
                                          :
                              Defendants.     DEMAND FOR JURY TRIAL
                                          :
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       Lead plaintiff Donald W. Hutchings, individually and as trustee of several trusts 1 (“Lead

Plaintiff”) and additional plaintiff City of Warren Police and Fire Retirement System (“Plaintiff”

and, together with Lead Plaintiff, “Plaintiffs”), individually and on behalf of all others similarly

situated, by their undersigned attorneys, allege the following based upon personal knowledge as to

themselves and their own acts and upon information and belief as to all other matters based upon the

investigation undertaken by counsel, which included, among other things, a review of U.S. Securities

and Exchange Commission (“SEC”) filings by Napco Security Technologies, Inc. (“NAPCO” or the

“Company”), press releases, analyst and media reports, and other public reports and information

about the Company, and interviews with former employees of NAPCO. Plaintiffs believe that

substantial additional evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

I.     INTRODUCTION

       A.      Introduction to All Claims

       1.      This is a federal securities class action alleging two distinct sets of claims.

       2.      The first set of claims alleged are fraud claims under Sections 10(b) and 20(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder, on

behalf of those who purchased or otherwise acquired NAPCO common stock between

November 7, 2022 and August 18, 2023, inclusive (the “Class Period”) and were damaged thereby.


1
       The trusts are: the Brady Adams Hutchings Irrevocable Trust U/A DTD 12/18/2012; the
Caroline Hutchings Morin Irrevocable Trust U/A DTD 12/30/2014; the Donald W Hutchings Living
Trust U/A DTD 09/19/1994; the Donald W Hutchings Principal Residence Trust U/A DTD
09/19/1994; the Hutchings Community Property Trust U/A DTD 05/20/2015; the Jay Whitney
Hutchings Irrevocable Trust, Grantors Donald W. Hutchings and Pamela Paul Hutchings, dated
December 18, 2012; the Julie Renee Hutchings Irrevocable Trust U/A DTD 12/18/12; the Kyle
Hutchings Morin Irrevocable Trust U/A DTD 12/30/2014; the Pamela Paul Hutchings Living Trust
U/A DTD 09/19/1994; and the Pamela Paul Hutchings Principal Residence Trust U/A DTD
09/19/1994.
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        3.      The second set of claims alleged are non-fraud claims under Sections 11, 12(a)(2) and

15 of the Securities Act of 1933 (the “Securities Act”), on behalf of those who purchased or

otherwise acquired NAPCO common stock pursuant or traceable to the registration statement and

prospectuses issued in connection with the offering of NAPCO common stock on or about

February 13, 2023 (the “Offering”) and were damaged thereby.

        4.      Headquartered in Amityville, New York, defendant NAPCO designs and

manufactures security solutions, including access control devices, intrusion and fire alarm systems,

and video surveillance products. Its fiscal year ends on June 30.

        B.      Introduction to the Exchange Act Claims

        5.      On August 18, 2023, NAPCO announced that it would need to restate its interim

financial statements for the first three quarters of fiscal 2023, and that its previously-issued financial

results for those quarters “should no longer be relied upon.” The Company explained that its

inventories had been overstated and its cost of goods sold had been understated, “resulting in

overstated gross profit, operating income and net income,” and gave preliminary estimates of its

overstatement of net income. NAPCO also admitted that a previously-undisclosed material

weakness existed in its internal controls over financial reporting.

        6.      Shortly thereafter, on September 1, 2023, the Company filed amended quarterly

reports, which confirmed the severity of its financial misstatements. The restatement showed that

during the Class Period, NAPCO’s net income had been overstated by as much as 114.97%, its

income per share had been overstated by as much as 112.5%, its operating income had been

overstated by as much as 118.02%, and its gross profit and gross margins had been overstated by as

much as 35.59%.




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       7.      When NAPCO revealed that it would need to restate its financial results and provided

preliminary estimates for restated net income at the end of the Class Period, the price of its common

stock fell more than 45%.

       8.      Although NAPCO attempted to characterize the restatement as stemming from

innocent accounting “errors,” in fact, it was the product of a fraudulent scheme to inflate NAPCO’s

income-related metrics, orchestrated by the Exchange Act Defendants. 2

       9.      Prior to and during the Class Period, NAPCO employees were directed to halt

shipments of sold inventory before the end of the quarter, and to instead ship the inventory to

customers after the beginning of the next quarter. In these instances, the sold inventory was already

in NAPCO’s warehouse facilities, ready for shipment to customers. The directive to withhold

shipments of sold inventory was issued by defendant Buchel, and was given to the Vice President of

Sales and the Vice President of Operations, and in turn, to sales directors.

       10.     By withholding the shipment of sold product, the Exchange Act Defendants were able

to improperly count sold product as inventory at the end of the quarter. This understated the cost of

the equipment inventory NAPCO had sold during the quarter––i.e., the cost of goods sold. Because

cost of goods sold has a direct bearing on a company’s income-related metrics, the Exchange Act

Defendants’ financial manipulation allowed them to inflate NAPCO’s reported net income and

related results during the Class Period.

       11.     As the Exchange Act Defendants intended, the fraud enabled NAPCO to meet––and

exceed––market expectations. For example, when discussing the Company’s financial results for the

first quarter of fiscal 2023, defendant Soloway highlighted that NAPCO had “easily exceed[ed]


2
      The “Exchange Act Defendants” are NAPCO, its founder and Chief Executive Officer
(“CEO”) Richard L. Soloway (“Soloway”), and its Chief Financial Officer (“CFO”) Kevin S. Buchel
(“Buchel”).

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published street consensus estimates” by reporting earnings per share (“EPS”) of $0.17. In truth,

NAPCO would not have met––let alone exceeded––the analysts’ consensus estimate of EPS of

$0.13––because its actual EPS for the quarter was just $0.08.

       12.      During the time that NAPCO’s income-related metrics were grossly inflated,

defendants Soloway and Buchel each cashed out nearly half of their personally-held NAPCO stock

over a three-month time period, with Soloway selling 48.5% of his shares for proceeds of

approximately $104 million, and Buchel selling 45.5% of his shares for proceeds of approximately

$4.5 million.

       C.       Introduction to the Securities Act Claims

       13.      Separately, with respect to the Securities Act claims, Plaintiff City of Warren Police

and Fire Retirement System expressly disclaims the allegations set forth in ¶2 and ¶¶4-12 above, and

in §VI below. For these claims, Plaintiff pleads in the alternative that Defendants (defined below)

violated the Securities Act by incorporating by reference NAPCO’s materially false and misleading

financial statements for the first two quarters of fiscal 2023 in the registration statement and

prospectuses for the Offering.

II.    JURISDICTION AND VENUE

       14.      The claims asserted herein arise under: (i) Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§78j(b) and 78t(a)) and SEC Rule 10b-5 promulgated thereunder (17 C.F.R.

§240.10b-5); and (ii) Sections 11, 12(a)(2), and 15 of the Securities Act (15 U.S.C. §§77k, 77l(a)(2)

and 77o).

       15.      This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

§1331, Section 27 of the Exchange Act (15 U.S.C. §78aa), and Section 22 of the Securities Act

(15 U.S.C. §77v).



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        16.    Venue is proper in this District pursuant to 28 U.S.C. §1391(b), Section 27 of the

Exchange Act, and Section 22 of the Securities Act. Many of the acts charged herein, including the

preparation and dissemination of materially false and misleading information, occurred in substantial

part in this District. In addition, the Company’s principal executive offices are located in this

District.

        17.    In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including, but

not limited to, the U.S. mail, interstate telephone communications, and the facilities of the NASDAQ

Global Select Market (“NASDAQ”), a national securities exchange.

III.    PARTIES

        18.    As set forth in his certification previously filed with the Court and incorporated herein

by reference, Lead Plaintiff purchased NAPCO common stock during the Class Period, and was

damaged thereby. See ECF 22-2.

        19.    Plaintiff City of Warren Police and Fire Retirement System, as set forth in the

attached certification, purchased NAPCO common stock during the Class Period, and pursuant and

traceable to the Offering, and was damaged thereby.

        20.    Defendant NAPCO provides security devices and systems. The Company’s principal

executive offices are located at 333 Bayview Avenue, Amityville, New York 11701. NAPCO’s

common stock is listed and trades on the NASDAQ, an efficient market, under the symbol “NSSC.”

        21.    Defendant Soloway––NAPCO’s founder––is, and was at all relevant times, the

Company’s CEO, President, Secretary, and Chairman of the Board of Directors. Defendant Soloway

was also a selling stockholder in the Offering and signed the Offering Materials (defined below).




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        22.    Defendant Buchel is, and was at all relevant times, NAPCO’s CFO, Executive Vice

President of Operations, Treasurer, and a Director. Defendant Buchel was also a selling stockholder

in the Offering and signed the Offering Materials.

        23.    Defendants Soloway and Buchel are collectively referred to as the “Officer

Defendants” and, together with NAPCO, as the “Exchange Act Defendants.”

        24.    Defendants Paul Stephen Beeber, Rick Lazio, Donna Soloway, Robert Ungar, and

Andrew J. Wilder each served as a director of the Company at the time of the Offering and signed

the Offering Materials. They are collectively referred to as the “Director Defendants” (and, together

with the Officer Defendants (i.e., Soloway and Buchel), as the “Individual Defendants”).

        25.    Defendants Needham & Company, LLC (“Needham”) and William Blair &

Company, L.L.C. (“William Blair”) served as joint bookrunners of the Offering and representatives

of the underwriters. They each received commissions and other professional fees in connection with

the Offering. Needham and William Blair are collectively referred to as the “Underwriter

Defendants.”

        26.    The Underwriter Defendants received and offered the following number of shares for

sale:


                                                                             Number of
    Underwriter                                                               Shares

    Needham & Company, LLC                                                   1,050,000

    William Blair & Company, L.L.C.                                          1,050,000

    Total                                                                    2,100,000




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        27.     The Underwriter Defendants also received an option––which they exercised in full––

to purchase on a pro rata basis up to 300,000 additional shares at the Offering price, less the

underwriting discounts and commissions.

        28.     The Underwriter Defendants participated in drafting and disseminating the Offering

Materials, soliciting investors for the Offering, and marketing and pricing the Offering. The

Underwriter Defendants failed to conduct adequate due diligence in connection with the Offering,

and were negligent in failing to ensure that the Offering Materials were prepared accurately and in

accordance with the rules and regulations governing their preparation. The Underwriter Defendants’

negligence was a substantial factor leading to the harm complained of herein.

        29.     NAPCO, the Individual Defendants, and the Underwriter Defendants are collectively

referred to as “Defendants.”

IV.     CLASS ACTION ALLEGATIONS

        30.     Plaintiffs bring this action as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and 23(b)(3) on behalf of a class consisting of all those who purchased or otherwise

acquired NAPCO common stock: (i) during the Class Period, seeking to pursue remedies under the

Exchange Act; and (ii) pursuant or traceable to the Offering Materials, including purchasers who

were successfully solicited by any defendant, seeking to pursue remedies under the Securities Act

(collectively, the “Class”) and were damaged thereby. Excluded from the Class are: (i) Defendants

and members of their immediate families; (ii) the officers and directors of the Company, at all

relevant times, and members of their immediate families; (iii) the legal representatives, heirs,

successors, or assigns of any of the foregoing; and (iv) any entity in which any Defendant has or had

a controlling interest.

        31.     The members of the Class are so numerous that joinder of all members is

impracticable. NAPCO common stock is actively traded on the NASDAQ and millions of shares
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were sold in the Offering. While the exact number of Class members is unknown to Plaintiffs at this

time and can only be ascertained through appropriate discovery, there are likely hundreds, if not

thousands, of members in the proposed Class. Record owners and other Class members may be

identified from records maintained by NAPCO or its transfer agent and may be notified of the

pendency of this action using a form of notice customarily used in securities class actions.

       32.     Plaintiffs will fairly and adequately represent and protect the interests of the members

of the Class. Plaintiffs have retained competent counsel experienced in class action litigation under

the federal securities laws to further ensure such protection and intend to prosecute this action

vigorously.

       33.     Plaintiffs’ claims are typical of the claims of the other members of the Class because

Plaintiffs and all the Class members’ damages arise from and were caused by the same false and

misleading representations and omissions made by or chargeable to Defendants. Plaintiffs do not

have any interests antagonistic to, or in conflict with, those of the Class.

       34.     Common questions of law and fact exist as to all Class members and predominate

over any questions solely affecting individual Class members, including:

               (a)     whether Defendants violated the Exchange Act and/or the Securities Act;

               (b)     whether Defendants misrepresented and/or omitted material facts; and

               (c)     whether and to what extent Class members have sustained damages, as well as

the appropriate measure of damages.

       35.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, because

the damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it exceedingly difficult, if not impossible, for Class members to


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individually seek redress for the wrongful conduct alleged. Plaintiffs know of no difficulty that will

be encountered in the management of this litigation that would preclude its maintenance as a class

action.

V.        THE COMPANY AND ITS BUSINESS

          36.   Defendant NAPCO designs and manufactures electronic security devices, provides

wireless communication services for intrusion and fire alarm systems, and offers school safety

solutions. The security systems it provides include access control, door-locking, intrusion and fire

alarm, and video surveillance. The Company sells its products primarily to independent distributors,

dealers, and installers of security equipment.

          37.   Approximately two-thirds of NAPCO’s revenues are generated by equipment sales.

The remainder are recurring revenues from monthly subscription fees it charges to provide wireless

services for communicating security breaches and fire alarms.

          38.   The Company is headquartered in Amityville, New York, and manufactures its

products in the Dominican Republic. NAPCO’s fiscal year begins on July 1 and ends on June 30.

Accordingly, its first quarter (“1Q”) ends on September 30, its second quarter (“2Q”) ends on

December 31, its third quarter (“3Q”) ends on March 31, and its fourth quarter (“4Q”) ends on

June 30.

VI.       ALLEGATIONS UNDER THE EXCHANGE ACT

          A.    The Exchange Act Defendants’ Fraudulent Scheme to Manage
                NAPCO’s Income-Related Metrics by Manipulating Its Inventory and
                Cost of Goods Sold

          39.   At the end of the Class Period, on August 18, 2023, NAPCO admitted that its

previously-issued interim financial statements for the first three quarters of fiscal 2023, ended

September 30, 2022 (“1Q23”), December 31, 2022 (“2Q23”), and March 31, 2023 (“3Q23”) would

need to be restated and “should no longer be relied upon.” On September 1, 2023, NAPCO filed
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with the SEC amended quarterly reports on Form 10-Q/A that restated NAPCO’s interim financial

statements for 1Q23, 2Q23, and 3Q23 (the “Restatement”).

       40.     In announcing the need for the Restatement, NAPCO acknowledged that the

inaccurate financial metrics the Company had reported for 1Q23, 2Q23, and 3Q23 stemmed from the

improper overstatement of the inventory NAPCO possessed at the end of each affected quarter. This

overstatement of inventory resulted in a concomitant: (i) understatement of the equipment inventory

the Company had sold––i.e., cost of goods sold; and (ii) overstatement of NAPCO’s income-related

metrics.

       41.     Several former employees (“FEs”) of NAPCO described a practice in which, during

certain quarters, NAPCO employees were directed to delay shipping sold inventory to customers

until after the beginning of the next quarter. On such occasions, the sold inventory remained

warehoused at the Company’s facilities.

       42.     FE1, FE2, and FE3 each recounted NAPCO’s practice of halting shipments of sold

inventory to customers before the close of a fiscal quarter. FE1 was midlevel manager within

NAPCO’s Continental Access business for over a decade, including throughout the Class Period.

FE2 worked at NAPCO for a number of years, including during NAPCO’s 1Q23 and 2Q23. FE2’s

responsibilities included acquiring and shipping inventory within his 3 business division, and he had

access to inventory levels at NAPCO. FE3 was a midlevel manager at NAPCO for several years,

until early 2023.

       43.     According to FE1 and FE2, the Company would stop shipping out inventory, and

would instead ship that inventory during the following quarter. FE1 and FE2 both stated that in


3
        All FEs are referenced using male gender pronouns to protect their identities. Likewise, the
job descriptions and dates of employment of these FEs are intentionally vague in order to protect
their identities.

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many of these instances, the inventory was already sitting in NAPCO’s warehouse facilities. FE1

further stated that in those situations, the warehoused inventory had been prepared for shipment to

customers. FE3 confirmed that in such instances, the warehoused inventory had already been sold to

customers.

       44.     FE1 reported that NAPCO’s practice of withholding shipments occurred frequently

during his employment, and believed that it likely occurred during 1Q23, 2Q23, and 3Q23.

FE3 stated that this practice occurred during the quarter before the Class Period (ended

June 30, 2022), 1Q23 and 2Q23. FE2 and FE3 further stated that NAPCO had been engaging in the

practice for years.

       45.     FE3 relayed that NAPCO withheld shipments of sold inventory in order to “sandbag

the numbers,” and characterized the practice as intentional.

       46.     FE1 reported that he was informed by insiders at NAPCO that the directive to halt

shipments prior to the end of the quarter came from defendant Buchel. As FE1 explained, this

directive was, in turn, given to the Vice President of Sales and the Vice President of Operations.

       47.     FE2 personally received directives not to ship out inventory, and confirmed that he

received that instruction from the Company’s Vice President of Operations. FE2 understood that the

Vice President of Operations had received the directive to stop shipping inventory from defendant

Buchel.

       48.     FE3 identified two sales directors at NAPCO who were told by NAPCO’s executive

team to stop shipping inventory. According to FE3, one of these sales directors was instructed to

keep the practice “quiet.” FE3 recounted that the other sales director personally told him about the

practice.




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       49.     FE1 and FE3 both reported that NAPCO’s practice of withholding shipments of sold

inventory was well-known within the Company. According to FE3, employees openly discussed the

practice amongst themselves, but were afraid to raise it with upper management. FE3 recounted

being told by co-workers, “It is what it is.”

       50.     Upon information and belief, when NAPCO withheld the shipment of sold inventory,

the Exchange Act Defendants overstated NAPCO’s reported inventory, by improperly counting sold

product as inventory, and thus understated the cost of the equipment inventory the Company sold

during the quarter––i.e., the cost of goods sold.

       51.     Because cost of goods sold has a direct bearing on a company’s income-related

metrics, this enabled the Exchange Act Defendants to inflate NAPCO’s reported net income and

related results during 1Q23, 2Q23, and 3Q23. Through this scheme, the Exchange Act Defendants

reverse-engineered and artificially managed NAPCO’s financial results in order to meet internal

targets and market expectations, including analysts’ estimates.

       B.      The Restatement Is an Admission that NAPCO’s Interim Financial
               Statements for Fiscal 2023 Violated GAAP and Were Materially
               Inaccurate

       52.     Generally Accepted Accounting Principles (“GAAP”) generally encompasses those

conventions, rules and procedures necessary to define accepted accounting practices at a particular

time. SEC Regulation S-X states that financial statements filed with the SEC that are not prepared in

compliance with GAAP are “presumed to be misleading or inaccurate.” 17 C.F.R. §210.4-01(a)(1).

Regulation S-X also requires that interim financial statements filed with the SEC comply with

GAAP. 17 C.F.R. §210.10-01(a).

       53.     NAPCO has now admitted that the interim financial statements it issued to investors

and filed with the SEC for the first three quarters of fiscal 2023 were materially inaccurate, presented

in violation of GAAP, and “should no longer be relied upon.” Accordingly, each of the interim
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financial statements for those quarters is presumed to be misleading and inaccurate pursuant to the

SEC’s Regulation S-X.

       54.     By virtue of the Restatement, NAPCO itself has concluded that the now-restated

interim financial statements for 1Q23, 2Q23, and 3Q23 that the Company issued during the Class

Period were materially misstated––since only materially misstated financial statements are to be

corrected and re-reported on a retroactive basis. 4

       55.     Thus, there is no dispute that NAPCO’s financial statements and financial disclosures

were materially inaccurate throughout the Class Period.

       56.     The Exchange Act Defendants have also admitted that, in addition to NAPCO’s

preexisting internal control deficiencies, the Restatement “demonstrated an additional material

weakness in [its] internal controls over financial reporting.” 5

       57.     GAAP, as set forth in ASC Topic No. 250, Accounting Changes and Error

Corrections, provides that errors in previously-issued financial statements are to be corrected via a

restatement of the previously-issued financial statements. Adjustments related thereto are to be

reported in the restatement as “error corrections.”

       58.     When NAPCO issued the Restatement on September 1, 2023, after the Class Period,

it filed with the SEC amended quarterly reports on Form 10-Q/A that restated NAPCO’s interim

financial statements for 1Q23, 2Q23 and 3Q23 to correct errors related to the Company’s reported

4
       See, e.g., Financial Accounting Standards Board’s (“FASB”) Accounting Standards
Codification (“ASC”) Topic 250, Accounting Changes and Error Corrections, SEC Codification of
Staff Accounting Bulletins (“CSAB”) Topic 1M Financial Statements, Materiality and Topic 1-N,
Considering the Effects of Prior Year Misstatements When Quantifying Misstatements in Current
Year Financial Statements. According to the FASB, ASC is the source of authoritative GAAP to be
applied to nongovernmental entities.
5
        A material weakness is a deficiency, or a combination of deficiencies, in internal control over
financial reporting, such that there is a reasonable possibility that a material misstatement in an
entity’s financial statements will not be prevented or detected on a timely basis.

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inventory, cost of goods sold, net income, income per share, operating income, gross profit, and

gross margins.

       59.       Throughout the Class Period, the Exchange Act Defendants knew, or recklessly

disregarded, that they had caused NAPCO to issue interim financial statements for 1Q23, 2Q23,

and 3Q23 that were not presented in accordance with GAAP because those financial statements

overstated NAPCO’s net income and related metrics, by improperly overstating the Company’s

inventory and understating its cost of goods sold.

       60.       By doing so, the Exchange Act Defendants violated the provisions set forth in

Section 13 of the Exchange Act, which required them to: (i) present NAPCO’s business activities in

a manner that accurately and fairly reflected its transactions; and (ii) maintain a system of internal

accounting controls sufficient to provide reasonable assurances that NAPCO’s financial statements

conformed to GAAP, as follows:

       Every issuer which has a class of securities registered pursuant to Section 78I of this
       title and every issuer which is required to file reports pursuant to Section 78o(d) of
       this title shall --

                 A.       make and keep books, records, and accounts, which, in reasonable
                 detail, accurately and fairly reflect the transactions and dispositions of the
                 assets of the issuer;

                 B.      devise and maintain a system of internal accounting controls
                 sufficient to provide reasonable assurances that --

                        (I)    transactions are executed in accordance with management’s
                        general or specific authorization;

                        (II)   transactions are recorded as necessary (I) to permit
                        preparation of financial statements in conformity with generally
                        accepted accounting principles or any other criteria applicable to such
                        statements, and (II) to maintain accountability for assets;

                        (III) access to assets is permitted only in accordance with
                        management’s general or specific authorization; and



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                       (IV) the recorded accountability for assets is compared with the
                       existing assets at reasonable intervals and appropriate action is taken
                       with respect to any differences[.] 15 U.S.C. §77m(2)(A)-(B)(i)-(iv).

       61.     The basic accounting precept that expenses be recorded in the same period in which

the corresponding benefit is realized is arguably the most fundamental tenet of accrual accounting.

See FASB Statement of Financial Accounting Concepts No. 8, Conceptual Framework for Financial

Reporting.

       62.     GAAP, as set forth in ASC Topic No. 330, Inventories, provides that the primary

objective of accounting for inventories is the proper determination of income, through the process of

matching appropriate costs against revenues.

       63.     These accounting principles are neither complex, nor a matter of subjective

interpretation or opinion. The Exchange Act Defendants knew, or recklessly ignored, that NAPCO’s

interim financial statements for 1Q23, 2Q23, and 3Q23 were presented in violation of these

provisions of GAAP, and were materially false and misleading.

       C.      NAPCO’s Fraudulent Financial Reporting of Inventory, Cost of
               Goods Sold, and Income-Related Metrics

       64.     The Exchange Act Defendants’ scheme to manage NAPCO’s quarterly results by

retaining sold inventory had the intended effect for 1Q23, 2Q23, and 3Q23 of understating the cost

of equipment inventory NAPCO sold (i.e., cost of goods sold), which in turn, overstated its income-

related metrics for each of those quarters. The quantitative impact of the Exchange Act Defendants’

scheme is set forth below.

       65.     For 1Q23, ended September 30, 2022, NAPCO’s cost of goods sold was understated

by 14.45%, which in turn, overstated its income-related metrics as follows:

       •       Net income was overstated by 107.59%;

       •       Income per share was overstated by 112.5%;

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       •       Operating income was overstated by 98.71%; and

       •       Gross profit and gross margins were each overstated by 24.72%.

       66.     For 2Q23, ended December 31, 2022, NAPCO’s cost of goods sold was understated

by 18.27%, which in turn, overstated its income-related metrics as follows:

       •       Net income was overstated by 114.97%;

       •       Income per share was overstated by 109.1%;

       •       Operating income was overstated by 118.02%; and

       •       Gross profit and gross margins were each overstated by 35.59%.

       67.     In addition, for the first six months of fiscal 2023, ended December 31, 2022,

NAPCO’s cost of goods sold was understated by 16.47%, which in turn, overstated its income-

related metrics as follows:

       •       Net income was overstated by 111.72%;

       •       Income per share was overstated by 110.53%;

       •       Operating income was overstated by 109.2%; and

       •       Gross profit and gross margins were each overstated by 30.11%.

       68.     For 3Q23, ended March 31, 2023, NAPCO’s cost of goods sold was understated by

6.26%, which in turn, overstated its income-related metrics as follows:

       •       Net income was overstated by 13.52%;

       •       Income per share was overstated by 11.5%;

       •       Operating income was overstated by 13.21%; and

       •       Gross profit and gross margins were each overstated by 6.54%.

       69.     In addition, for the first nine months of fiscal 2023, ended March 31, 2023, NAPCO’s

cost of goods sold was understated by 13.44%, which in turn, overstated its income-related metrics

as follows:

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       •         Net income was overstated by 55.1%;

       •         Income per share was overstated by 55.56%;

       •         Operating income was overstated by 54.55%; and

       •         Gross profit and gross margins were each overstated by 20.12%.

       70.       As planned, the Exchange Act Defendants’ fraud enabled NAPCO to meet––and even

exceed––analysts’ estimates during the Class Period.        For example, as defendant Soloway

highlighted in the Company’s press release for 1Q23, NAPCO had “easily exceed[ed] published

street consensus estimates” by reporting EPS of $0.17. 6 In reality, NAPCO would not have met––let

alone exceeded––the analysts’ consensus estimate of 1Q23 EPS of $0.13, since its actual EPS for

1Q23 was just $0.08. Likewise, when discussing NAPCO’s financial results for 2Q23 during its

February 6, 2023 conference call, defendant Soloway stated that NAPCO had been “able to beat

published Street consensus estimates” by reporting EPS of $0.23. As with the previous quarter,

NAPCO would not have met or exceeded the analysts’ consensus estimate of 2Q23 EPS of $0.14,

since its actual EPS for 2Q23 was $0.11.

       D.        Materially False and Misleading Statements Made During the Class
                 Period

                 1.     1Q23 Financial Results

       71.       The Class Period begins on November 7, 2022, when NAPCO filed with the SEC its

quarterly report on Form 10-Q for the first quarter of fiscal 2023, September 30, 2022 (the “1Q23

Form 10-Q”), which was signed by defendants Soloway and Buchel. For the quarter, the 1Q23 Form

10-Q reported:

       •         Total inventory (current and non-current) of $63,837,000 as of September 30, 2022;

       •         Cost of goods sold of $21,326,000;

6
       EPS is equivalent to income per share.

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       •       Net income of $6,402,000;

       •       Income per share of $0.17;

       •       Operating income of $7,249,000;

       •       Gross profit of $18,167,000; and

       •       Gross margins of 46%.

       72.     The statements referenced above in ¶71 were materially false and misleading when

made because the Exchange Act Defendants had engaged in a scheme to reverse-engineer and

artificially manage NAPCO’s financial results by retaining sold product at the end of the quarter and

improperly counting it as inventory, which overstated the Company’s reported inventory and

understated its cost of goods sold––and in turn, inflated NAPCO’s income. As a result––as the

Company has now admitted––(i) NAPCO’s financial results were presented in violation of GAAP

and were materially inaccurate; and (ii) for 1Q23, NAPCO’s actual financial results were as follows:

       •       Total inventory (current and non-current) was $60,236,000 as of September 30,
               2022, and had been overstated by 5.98%;

       •       Cost of goods sold was $24,927,000, and had been understated by 14.45%;

       •       Net income was $3,084,000, and had been overstated by 107.59%;

       •       Income per share was $0.08, and had been overstated by 112.5%;

       •       Operating income was $3,648,000, and had been overstated by 98.71%;

       •       Gross profit was $14,566,000, and had been overstated by 24.72%; and

       •       Gross margins were approximately 36.9%, and had been overstated by 24.72%.

       73.     In addition, the 1Q23 Form 10-Q represented that NAPCO had two preexisting

“material weaknesses in internal control.” One material weakness “related to ineffective information

technology general controls (ITGCs) in the area of user access and lack of effective program change-

management over certain information technology (IT) systems that support the Company’s financial


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reporting processes.” The second material weakness “related to the reserve for excess and slow-

moving inventory” and “was a result of a lack of effective review and reconciliation controls over []

forecasted sales and usage data.” The 1Q23 Form 10-Q further stated that, although “the Company’s

internal controls over financial reporting were not effective” as a result of these material weaknesses,

the material weaknesses had “not result[ed] in any identified misstatements to [NAPCO’s] financial

statements and there were no changes to [its] previously released financial results.”

       74.     The statements referenced above in ¶73 were materially false and misleading when

made because the Exchange Act Defendants knew, or recklessly disregarded, but failed to disclose

that: (i) NAPCO suffered from additional material weaknesses in internal controls over financial

reporting; (ii) those material weaknesses had allowed the Exchange Act Defendants to reverse-

engineer and artificially manage NAPCO’s financial results by retaining sold product at the end of

the quarter and improperly counting it as inventory; and (iii) as a result, NAPCO’s material

weaknesses in internal controls had “result[ed] in . . . misstatements to the [Company’s] financial

statements” for 1Q23.

       75.     Also on November 7, 2022, NAPCO issued a press release announcing its financial

results for 1Q23. The Company filed the press release with the SEC as an exhibit to a Current

Report on Form 8-K, which was signed by defendant Buchel.

       76.     The press release reported the same metrics for the quarter as the 1Q23 Form 10-Q

with respect to inventory, cost of goods sold, net income, income per share, operating income, gross

profit, and gross margins. Those reported results were materially false and misleading for the

reasons set forth above in ¶72.

       77.     In the press release, defendant Soloway commented that “NAPCO executed

exceptionally well in the first quarter, easily exceeding published street consensus estimates for


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Q1 on . . . Net Income[] [and] EPS . . . .” During a conference call held later in the day on

November 7, 2022, defendant Soloway described NAPCO’s “fiscal first quarter [of] 2023” as “a

record breaking successful one.”

       78.     The statements referenced above in ¶77 were materially false and misleading when

made because the Exchange Act Defendants had engaged in a scheme to reverse-engineer and

artificially manage NAPCO’s financial results by retaining sold product at the end of the quarter and

improperly counting it as inventory, which overstated the Company’s reported inventory and

understated its cost of goods sold––and in turn, inflated NAPCO’s income. As a result––as the

Company has now admitted––NAPCO’s financial results for 1Q23 were presented in violation of

GAAP and were materially inaccurate, as set forth above in ¶72. In truth, NAPCO had not merely

“executed exceptionally well in the first quarter,” but had also benefited from the Exchange Act

Defendants’ fraud. In addition, 1Q23 had not been “a record breaking successful” quarter, and

NAPCO had only been able to “easily exceed[] published street consensus estimates for Q1 on” net

income and EPS because of the Exchange Act Defendants’ fraud.

               2.      2Q23 Financial Results

       79.     On February 6, 2023, NAPCO filed with the SEC its quarterly report on Form 10-Q

for the second quarter of fiscal 2023, ended December 31, 2022 (the “2Q23 Form 10-Q”), which was

signed by defendants Soloway and Buchel. For the quarter, the 2Q23 Form 10-Q reported:

       •       Total inventory (current and non-current) of $64,192,000 as of December 31, 2022;

       •       Cost of goods sold of $22,852,000;

       •       Net income of $8,446,000;

       •       Income per share of $0.23;

       •       Operating income of $9,436,000;

       •       Gross profit of $19,462,000; and
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       •       Gross margins of 46%.

       80.     The statements referenced above in ¶79 were materially false and misleading when

made because the Exchange Act Defendants had engaged in a scheme to reverse-engineer and

artificially manage NAPCO’s financial results by retaining sold product at the end of the quarter and

improperly counting it as inventory, which overstated the Company’s reported inventory and

understated its cost of goods sold––and in turn, inflated NAPCO’s income. As a result––as the

Company has now admitted––(i) NAPCO’s financial results were presented in violation of GAAP

and were materially inaccurate; and (ii) for 2Q23, NAPCO’s actual financial results were as follows:

       •       Total inventory (current and non-current) was $55,483,000 as of December 31, 2022,
               and had been overstated by 15.7%;

       •       Cost of goods sold was $27,960,000, and had been understated by 18.27%;

       •       Net income was $3,929,000, and had been overstated by 114.97%;

       •       Income per share was $0.11, and had been overstated by 109.1%;

       •       Operating income was $4,328,000, and had been overstated by 118.02%;

       •       Gross profit was $14,354,000, and had been overstated by 35.59%; and

       •       Gross margins were approximately 33.9%, and had been overstated by 35.59%.

       81.     In addition, for the first six months of fiscal 2023, ended December 31, 2022, the

2Q23 Form 10-Q reported:

       •       Cost of goods sold of $44,178,000;

       •       Net income of $14,848,000;

       •       Income per share of $0.40;

       •       Operating income of $16,685,000;

       •       Gross profit of $37,629,000; and

       •       Gross margins of 46%.


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       82.     The statements referenced above in ¶81 were materially false and misleading when

made because the Exchange Act Defendants had engaged in a scheme to reverse-engineer and

artificially manage NAPCO’s financial results by retaining sold product at the end of the quarter and

improperly counting it as inventory, which overstated the Company’s reported inventory and

understated its cost of goods sold––and in turn, inflated NAPCO’s income. As a result––as the

Company has now admitted––(i) NAPCO’s financial results were presented in violation of GAAP

and were materially inaccurate; and (ii) for the first six months of fiscal 2023, NAPCO’s actual

financial results were as follows:

       •       Cost of goods sold was $52,887,000, and had been understated by 16.47%;

       •       Net income was $7,013,000, and had been overstated by 111.72%;

       •       Income per share was $0.19, and had been overstated by 110.53%;

       •       Operating income was $7,976,000, and had been overstated by 109.2%;

       •       Gross profit was $28,920,000, and had been overstated by 30.11%; and

       •       Gross margins were approximately 35.4%, and had been overstated by 30.11%.

       83.     In addition, the 2Q23 Form 10-Q reiterated that NAPCO had two preexisting

“material weaknesses in internal control.” One material weakness “related to ineffective information

technology general controls (ITGCs) in the area of user access and lack of effective program change-

management over certain information technology (IT) systems that support the Company’s financial

reporting processes.” The second material weakness “related to the reserve for excess and slow-

moving inventory” and “was a result of a lack of effective review and reconciliation controls over []

forecasted sales and usage data.” The 2Q23 Form 10-Q further stated that, although “the Company’s

internal controls over financial reporting were not effective” as a result of these material weaknesses,

the material weaknesses had “not result[ed] in any identified misstatements to [NAPCO’s] financial

statements and there were no changes to [its] previously released financial results.”
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       84.     The statements referenced above in ¶83 were materially false and misleading when

made because the Exchange Act Defendants knew, or recklessly disregarded, but failed to disclose

that: (i) NAPCO suffered from additional material weaknesses in internal controls over financial

reporting; (ii) those material weaknesses had allowed the Exchange Act Defendants to reverse-

engineer and artificially manage NAPCO’s financial results by retaining sold product at the end of

the quarter and improperly counting it as inventory; and (iii) as a result, NAPCO’s material

weaknesses in internal controls had “result[ed] in . . . misstatements to the [Company’s] financial

statements” for 2Q23.

       85.     Also on February 6, 2023, NAPCO issued a press release announcing its financial

results for 2Q23. The Company filed the press release with the SEC as an exhibit to a Current

Report on Form 8-K, which was signed by defendant Buchel.

       86.     The press release reported the same metrics for the quarter as the 2Q23 Form 10-Q

with respect to inventory, cost of goods sold, net income, income per share, operating income, gross

profit, and gross margins. Those reported results were materially false and misleading for the

reasons set forth above in ¶80.

       87.     The press release also reported the same metrics for the first six months of fiscal 2023

as the 2Q23 Form 10-Q with respect to inventory, cost of goods sold, net income, income per share,

operating income, and gross profit. Those reported results were materially false and misleading for

the reasons set forth above in ¶82.

       88.     In addition, the press release emphasized that NAPCO’s “[n]et income for the quarter

was a quarterly record $8.4 million or $0.23 per diluted share.” Commenting on the quarterly

results, defendant Soloway likewise highlighted that “net income of $8.4 million [was] the largest

quarterly net income in the Company’s history.” He further stated that “[o]verall gross margins


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were 46%,” representing “a significant increase over last year’s Q2 gross margin of 34%.”

defendant Soloway emphasized that “NAPCO continued to execute exceptionally well in the

second quarter, with strong growth in Q2 on” metrics including “Net Income” and “EPS,” and

attributed “NAPCO’s outstanding record breaking results for the first half of fiscal 2023” to “the

strong demand [for] each of our product lines . . . .”

       89.     The statements referenced above in ¶88 were materially false and misleading when

made because the Exchange Act Defendants had engaged in a scheme to reverse-engineer and

artificially manage NAPCO’s financial results by retaining sold product at the end of the quarter and

improperly counting it as inventory, which overstated the Company’s reported inventory and

understated its cost of goods sold––and in turn, inflated NAPCO’s income. As a result––as the

Company has now admitted––NAPCO’s financial results for 2Q23 and for the first six months of

fiscal 2023 were presented in violation of GAAP and were materially inaccurate, as set forth above

in ¶80 and ¶82. Because of the Exchange Act Defendants’ fraud, NAPCO’s 2Q23 “net income” was

not “$8.4 million,” but was actually $3.9 million, and therefore was not “a quarterly record” or “the

largest quarterly net income in the Company’s history.” Indeed, NAPCO’s actual net income for

2Q23 was far below its quarterly record of $7.8 million, reported in the first quarter of fiscal 2022.

Likewise, EPS was not “$0.23 per . . . share,” but was actually just $0.11 per share. In addition,

“[o]verall gross margins” were not “46%,” but were actually 33.9%, and had not “increase[d]”

“significant[ly] . . . over last year’s Q2 gross margin[s] of 34%.” Finally, NAPCO had not

“execute[d] exceptionally well in the second quarter,” its “strong growth” in net income and EPS

was illusory, and its “outstanding record breaking results for the first half of fiscal 2023” were

attributable in part to the Exchange Act Defendants’ fraud, and not solely to “strong demand” for

NAPCO’s products.


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       90.     Later in the day on February 6, 2023, NAPCO held a conference call to discuss the

2Q23 financial results, during which defendant Soloway stated that NAPCO had been “able to beat

published Street consensus estimates for . . . EPS[] [and] net income,” and attributed the

Company’s “outstanding performance” to “the continued strong demand for each of [its] product

lines . . . .” Also during the call, defendant Buchel attributed “[t]he significant increase in gross

profit dollars as well as gross margin for equipment sales for both[] the 3 and the 6 months ended

December 31, 2022,” in part to the “lower cost of certain components” due to “improvements

within the company’s supply chain.”

       91.     The statements referenced above in ¶90 were materially false and misleading when

made because the Exchange Act Defendants had engaged in a scheme to reverse-engineer and

artificially manage NAPCO’s financial results by retaining sold product at the end of the quarter and

improperly counting it as inventory, which overstated the Company’s reported inventory and

understated its cost of goods sold––and in turn, inflated NAPCO’s income. As a result––as the

Company has now admitted––NAPCO’s financial results for 2Q23 and for the first six months of

fiscal 2023 were presented in violation of GAAP and were materially inaccurate, as set forth above

in ¶80 and ¶82. In truth, NAPCO had only been “able to beat published Street consensus estimates

for” EPS and net income because of the Exchange Act Defendants’ fraud. Likewise, NAPCO’s

“outstanding performance,” including “[t]he significant increase in gross profit” and “gross

margin[s]” were attributable in part to the Exchange Act Defendants’ fraud, and not solely to

“continued strong demand” for NAPCO’s products or “improvements within” its “supply chain.”

               3.      3Q23 Financial Results

       92.     On May 8, 2023, NAPCO filed with the SEC its quarterly report on Form 10-Q for

the third quarter of fiscal 2023, ended March 31, 2023 (the “3Q23 Form 10-Q”), which was signed

by defendants Soloway and Buchel. For the quarter, the 3Q23 Form 10-Q reported:
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       •       Total inventory (current and non-current) of $60,786,000 as of March 31, 2023;

       •       Cost of goods sold of $20,861,000;

       •       Net income of $10,840,000;

       •       Income per share of $0.29;

       •       Operating income of $11,932,000;

       •       Gross profit of $22,671,000; and

       •       Gross margins of 52.1%.

       93.     The statements referenced above in ¶92 were materially false and misleading when

made because the Exchange Act Defendants had engaged in a scheme to reverse-engineer and

artificially manage NAPCO’s financial results by retaining sold product at the end of the quarter and

improperly counting it as inventory, which overstated the Company’s reported inventory and

understated its cost of goods sold––and in turn, inflated NAPCO’s income. As a result––as the

Company has now admitted––(i) NAPCO’s financial results were presented in violation of GAAP

and were materially inaccurate; and (ii) for 3Q23, NAPCO’s actual financial results were as follows:

       •       Total inventory (current and non-current) was $50,685,000 as of March 31, 2023,
               and had been overstated by 19.93%;

       •       Cost of goods sold was $22,253,000, and had been understated by 6.26%;

       •       Net income was $9,549,000, and had been overstated by 13.52%;

       •       Income per share was $0.26, and had been overstated by 11.5%;

       •       Operating income was $10,540,000, and had been overstated by 13.21%;

       •       Gross profit was $21,279,000, and had been overstated by 6.54%; and

       •       Gross margins were approximately 48.9%, and had been overstated by 6.54%.

       94.     In addition, for the first nine months of fiscal 2023, ended March 31, 2023, the 3Q23

Form 10-Q reported:


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       •       Cost of goods sold of $65,039,000;

       •       Net income of $25,688,000;

       •       Income per share of $0.70 (basic);

       •       Operating income of $28,617,000;

       •       Gross profit of $60,300,000; and

       •       Gross margins of 48.1%.

       95.     The statements referenced above in ¶94 were materially false and misleading when

made because the Exchange Act Defendants had engaged in a scheme to reverse-engineer and

artificially manage NAPCO’s financial results by retaining sold product at the end of the quarter and

improperly counting it as inventory, which overstated the Company’s reported inventory and

understated its cost of goods sold––and in turn, inflated NAPCO’s income. As a result––as the

Company has now admitted––(i) NAPCO’s financial results were presented in violation of GAAP

and were materially inaccurate; and (ii) for the first nine months of fiscal 2023, NAPCO’s actual

financial results were as follows:

       •       Cost of goods sold was $75,140,000, and had been understated by 13.44%;

       •       Net income was $16,562,000, and had been overstated by 55.1%;

       •       Income per share was $0.45 (basic), and had been overstated by 55.56%;

       •       Operating income was $18,516,000, and had been overstated by 54.55%;

       •       Gross profit was $50,199,000, and had been overstated by 20.12%; and

       •       Gross margins were approximately 40.1%, and had been overstated by 20.12%.

       96.     In addition, the 3Q23 Form 10-Q reiterated that NAPCO had two preexisting

“material weaknesses in internal control.” One material weakness “related to ineffective information

technology general controls (ITGCs) in the area of user access and lack of effective program change-

management over certain information technology (IT) systems that support the Company’s financial

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reporting processes.” The second material weakness “related to the reserve for excess and slow-

moving inventory” and “was a result of a lack of effective review and reconciliation controls over []

forecasted sales and usage data.” The 3Q23 Form 10-Q further stated that, although “the Company’s

internal controls over financial reporting were not effective” as a result of these material weaknesses,

the material weaknesses had “not result[ed] in any identified misstatements to [NAPCO’s] financial

statements and there were no changes to [its] previously released financial results.”

       97.     The statements referenced above in ¶96 were materially false and misleading when

made because the Exchange Act Defendants knew, or recklessly disregarded, but failed to disclose

that: (i) NAPCO suffered from additional material weaknesses in internal controls over financial

reporting; (ii) those material weaknesses had allowed the Exchange Act Defendants to reverse-

engineer and artificially manage NAPCO’s financial results by retaining sold product at the end of

the quarter and improperly counting it as inventory; and (iii) as a result, NAPCO’s material

weaknesses in internal controls had “result[ed] in . . . misstatements to the [Company’s] financial

statements” for 3Q23.

       98.     Also on May 8, 2023, NAPCO issued a press release announcing its financial results

for 3Q23. The Company filed the press release with the SEC as an exhibit to a Current Report on

Form 8-K, which was signed by defendant Buchel.

       99.     The press release reported the same metrics for the quarter as the 3Q23 Form 10-Q

with respect to inventory, cost of goods sold, net income, income per share, operating income, gross

profit, and gross margins. Those reported results were materially false and misleading for the

reasons set forth above in ¶93.

       100.    The press release also reported the same metrics for the first nine months of fiscal

2023 as the 3Q23 Form 10-Q with respect to inventory, cost of goods sold, net income, income per


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share, operating income, and gross profit. Those reported results were materially false and

misleading for the reasons set forth above in ¶95.

       101.    In addition, the press release highlighted NAPCO’s “Quarterly Record Net Income

of $10.8 [million],” and defendant Soloway similarly emphasized that “net income of $10.8 million

in Q3 was a record-breaker for any quarter in the Company’s history,” and “the largest quarterly

net income in the Company’s history . . . .” Defendant Soloway also attributed “NAPCO’s

outstanding record breaking results, for both Q3 and the first nine months of fiscal 2023” to

“strong sales of each of our product lines . . . .”

       102.    The statements referenced above in ¶101 were materially false and misleading when

made because the Exchange Act Defendants had engaged in a scheme to reverse-engineer and

artificially manage NAPCO’s financial results by retaining sold product at the end of the quarter and

improperly counting it as inventory, which overstated the Company’s reported inventory and

understated its cost of goods sold––and in turn, inflated NAPCO’s income. As a result––as the

Company has now admitted––NAPCO’s financial results for 3Q23 and for the first nine months of

fiscal 2023 were presented in violation of GAAP and were materially inaccurate, as set forth above

in ¶93 and ¶95. In truth, NAPCO’s 3Q23 “net income” was not “$10.8 million,” but was actually

$9.5 million, and its “record” and “largest” quarterly net income “in the Company’s history” was due

in part to the Exchange Act Defendants’ fraud. Likewise, “NAPCO’s outstanding record breaking

results, for both Q3 and the first nine months of fiscal 2023” were attributable in part to the

Exchange Act Defendants’ fraud, and not solely to “strong sales of each of [its] product lines. . . .”

       103.    During a conference call held later in the day on May 8, 2023, defendant Soloway

reiterated that NAPCO’s “fiscal third quarter 2023 was a record-breaking successful one,” and

pointed to “the 10th consecutive quarterly [growth] streak” that the Company was “now on.” He


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further stated that NAPCO had “a pristine balance sheet . . . .” During the call, defendant Buchel

represented that “[t]he significant increase in gross profit dollars as well as gross margin for

equipment sales for both the 3 and the 9 months ended March 31, 2023 [was] primarily due to . . .

increases in equipment revenues[,]” as well as “the increased availability and lower costs of

certain components, lower transportation expenses,” and “a favorable shift in product mix . . . .”

       104.    The statements referenced above in ¶103 were materially false and misleading when

made because the Exchange Act Defendants had engaged in a scheme to reverse-engineer and

artificially manage NAPCO’s financial results by retaining sold product at the end of the quarter and

improperly counting it as inventory, which overstated the Company’s reported inventory and

understated its cost of goods sold––and in turn, inflated NAPCO’s income. As a result––as the

Company has now admitted––NAPCO’s financial results for 3Q23 and for the first nine months of

fiscal 2023 were presented in violation of GAAP and were materially inaccurate, as set forth above

in ¶93 and ¶95. In truth, NAPCO’s “record-breaking successful” results for 3Q23 were attributable

in part to the Exchange Act Defendants’ fraud. Likewise, “[t]he significant increase[s] in gross

profit dollars as well as gross margin for equipment sales for both the 3 and the 9 months ended

March 31, 2023” were attributable in part to the Exchange Act Defendants’ fraud, and therefore were

not “primarily due to . . . increases in equipment revenues,” “the increased availability and lower

costs of certain components, lower transportation expenses,” and “a favorable shift in product

mix . . . .” In addition, NAPCO was not on a “10th consecutive quarterly [growth] streak” because

the Company’s actual financial results for 1Q23 and 2Q23 had broken any purported growth streak.

Finally, NAPCO’s “balance sheet” was not “pristine” because its net income, income per share,

operating income, gross profit, gross margins, inventory, and cost of goods sold were each materially

misstated as a result of the Exchange Act Defendants’ fraud.


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       E.      NAPCO Announces the Restatement

       105.    On August 18, 2023, after the close of the markets, NAPCO issued a press release

revealing that the Company would need to restate its financial results for 1Q23, 2Q23, and 3Q23,

and that its previously-issued interim financial statements for those quarters “should no longer be

relied upon.” The press release disclosed that, for those quarters, “inventories were overstated and

COGS [cost of goods sold] was understated, resulting in overstated gross profit, operating income

and net income for each period.” It further explained that NAPCO was “in the process of preparing

amended Forms 10-Q for each of the first three quarters of fiscal 2023,” and provided the following

“preliminary” estimates of NAPCO’s overstatement of net income:




       106.    Finally, the press release revealed that “[d]ue to the . . . restatements, management of

the Company has determined that a material weakness existed in the Company’s internal controls

over financial reporting for each of the first three quarters of fiscal 2023, rendering the Company’s

disclosure controls and procedures ineffective at the end of each such quarter.”

       107.    Although the press release attempted to characterize the restatement as stemming

from innocent “errors” in calculating inventory and cost of goods sold, the significant scope of the

estimated overstatements of net income, and the disclosure that a number of additional income-

related metrics had been overstated during the first three quarters of fiscal 2023, caused the

Company’s share price to plummet.



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       108.    In response to the press release, the price of NAPCO common stock fell more than

45%, from a closing price of $38.41 per share on August 18, 2023, to close at $21.11 per share on

Monday, August 21, 2023 (the next trading day), on more than 40 times the previous day’s trading

volume.

       F.      Post-Class Period Events

       109.    On September 1, 2023, NAPCO filed with the SEC amended Forms 10-Q/A

containing the restated financial results for 1Q23, 2Q23, and 3Q23. The Restatement confirmed that

NAPCO’s income-related metrics had been grossly overstated during the first three quarters of fiscal

2023. For 1Q23, 2Q23, and 3Q23, respectively: (i) net income had been overstated by 107.59%,

114.97%, and 13.52%; (ii) income per share had been overstated by 109.1%, and 11.5%;

(iii) operating income had been overstated by 98.71%, 118.02%, and 13.21%; and (iv) gross profit

and gross margins had each been overstated by 24.72%, 35.59%, and 6.54%.

       110.    On October 27, 2023, NAPCO announced that it would “dismiss its current

independent registered public accounting firm, Baker Tilly US, LLP (‘Baker Tilly’)”––which had

served as NAPCO’s auditor since 2008––“effective on the Company’s filing of its Form 10-Q for the

quarter ending September 30, 2023.” Shortly thereafter, on November 3, 2023, NAPCO announced

that Baker Tilly would be replaced by Deloitte & Touche LLP.

       G.      Additional Scienter Allegations

       111.    As alleged herein, the Exchange Act Defendants acted with scienter in that the

Exchange Act Defendants: (i) knew, or at the very least were reckless in not knowing, that the public

documents and statements they issued or disseminated in the name of the Company or in their own

names during the Class Period were materially false and misleading when made; (ii) knew that such

statements or documents would be issued or disseminated to the investing public; and



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(iii) knowingly and substantially participated or acquiesced in the issuance or dissemination of such

statements or documents as primary violations of the federal securities laws.

       112.    The Exchange Act Defendants, by virtue of their receipt of information reflecting the

true facts regarding NAPCO, their control over, and/or receipt and/or modification of NAPCO’s

allegedly materially misleading misstatements and/or their associations with the Company which

made them privy to confidential proprietary information concerning NAPCO, were active and

culpable participants in the fraudulent scheme alleged herein.

       113.    The Exchange Act Defendants knew and/or recklessly disregarded the false and

misleading nature of the information which they caused to be disseminated to the investing public.

The fraudulent scheme described herein could not have been perpetrated during the Class Period

without the knowledge and complicity or, at least, the reckless disregard of the personnel at the

highest levels of the Company, including the Officer Defendants (i.e., defendants Soloway and

Buchel).

       114.    The Officer Defendants, by virtue of their high-level positions with the Company,

directly participated in the management of the Company, were directly involved in the day-to-day

operations of the Company at the highest levels, and were privy to confidential proprietary

information concerning the Company and its business, operations, and prospects, as alleged herein.

The Officer Defendants had the ultimate authority over and were involved in drafting, producing,

reviewing, and/or disseminating the false and misleading statements and information alleged herein;

were aware, or recklessly disregarded, that the false and misleading statements regarding the

Company were being issued; and approved or ratified these statements, in violation of the federal

securities laws.




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       115.    NAPCO, as an entity, acted with corporate scienter throughout the Class Period

because its officers, management, and agents had actual knowledge of the misrepresentations and

omissions of material facts set forth herein (for which they had a duty to disclose), or acted with

reckless disregard for the truth because they failed to ascertain and disclose such facts, even though

such facts were available to them. Such material misrepresentations and/or omissions were done

knowingly or with recklessness, and without a reasonable basis, for the purpose and effect of

concealing the true facts from investors.

       116.    The replacement of NAPCO’s long-standing auditor, Baker Tilly, shortly after the

Restatement, provides additional circumstantial evidence of scienter. The inference that Baker Tilly

was replaced because it discovered the Exchange Act Defendants’ fraudulent financial manipulations

is as least as likely as any innocent inference.

       117.    In addition, the Exchange Act Defendants were motivated to engage in the alleged

fraudulent course of conduct in order to enable certain Company insiders, including Defendants

Soloway and Buchel, to collectively sell 3,744,150 shares of their personally-held NAPCO common

stock during the Class Period, for proceeds of more than $108 million, under circumstances that

were unusual and suspicious, as set forth below:




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     Insider           Date         Price       Shares         Proceeds       Rule 10b5-1     % Sold
                                                 Sold                            Plan
Defendant            11/15/2022      $24.79    1,271,442      $31,519,047         No           48.5%
Soloway              02/13/2023      $31.50    2,012,500      $63,393,750         No
(CEO,                02/15/2023      $31.50      287,500       $9,056,250         No
Chairman)                                      3,571,442     $103,969,047

Defendant            11/15/2022      $24.79       52,977        $1,313,300         No          45.5%
Buchel               02/13/2023      $31.50       87,500        $2,756,250         No
(CFO)                02/15/2023      $31.50       12,500          $393,750         No
                                                 152,977        $4,463,300

Paul Stephen         11/23/2022      $26.10         1,731          $45,179         No          14.6%
Beeber
(Director)
Michael              11/23/2022      $26.45        9,000          $238,050         No            29%
Carrieri             11/30/2022      $26.05        9,000          $234,450         No
(Senior Vice                                      18,000          $472,500
President of
Engineering
Development)
                         Total:                3,744,150     $108,950,026

       118.    These insider sales were suspiciously-timed because each of the insiders who sold

stock did so in November 2022, shortly after NAPCO’s announcement on November 7, 2022 of

1Q23 financial results that were inflated by the Exchange Act Defendants’ scheme to overstate

NAPCO’s income-related metrics by retaining sold product at the end of the quarter and improperly

counting it as inventory, which overstated the Company’s reported inventory and understated its cost

of goods sold. At the time of these sales, NAPCO had recently reported quarterly results that

overstated its 1Q23: net income by 107.59%, income per share by 112.5%, operating income by

98.71%, and gross profit and gross margins by 24.72%.

       119.    Defendants Soloway and Buchel made substantial sales on November 15, 2022, with

Soloway selling 1,271,442 shares of his personally-held NAPCO common stock for proceeds of

approximately $31.5 million, and Buchel selling 52,997 shares of his personally-held NAPCO

common stock for proceeds of approximately $1.3 million.

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       120.    Soloway and Buchel made even larger insider sales in February 2023––orchestrating

an offering in order to enable Soloway to unload an additional 2,300,000 shares of his personally-

held NAPCO common stock for proceeds of approximately $72.5 million, and Buchel to unload an

additional 100,000 shares of his personally-held NAPCO common stock for proceeds of

approximately $3.2 million.

       121.    These sales insider were suspiciously-timed because they took place on

February 13, 2023 and February 15, 2023, shortly after NAPCO’s announcement on

February 6, 2023 of 2Q23 financial results that were inflated by the Exchange Act Defendants’

scheme to overstate NAPCO’s income-related metrics by retaining sold product at the end of the

quarter and improperly counting it as inventory, which overstated the Company’s reported inventory

and understated its cost of goods sold. And they were made pursuant to offering materials that

incorporated by reference NAPCO’s inflated financial results for both 1Q23 and 2Q23. Indeed,

NAPCO announced the Offering on February 8, 2023, almost immediately after it issued the inflated

2Q23 financial results. At the time of these sales, NAPCO had recently reported quarterly results

that overstated its 2Q23: net income by 114.97%, income per share by 109.1%, operating income by

118.02%, and gross profit and gross margins by 35.59%.

       122.    In total, defendant Soloway sold 48.5% of his personally-held NAPCO common

stock during the Class Period for proceeds of approximately $104 million, and defendant Buchel

sold 45.5% his personally-held NAPCO common stock during the Class Period for proceeds of

approximately $4.5 million.

       123.    By contrast, none of the insiders who sold stock during the Class Period made any

stock sales during the year before the Class Period. Defendants Soloway and Buchel, and insider

Michael Carrieri, also have not made any stock sales since the Class Period.


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        124.    Notably, defendant Buchel––who himself engaged in insider trading during the Class

Period while playing a key role in the fraud––is, and was, NAPCO’s “Insider Trading Compliance

Officer.” In that role, Buchel was required, pursuant to the Company’s Insider Trading Policy, to

“pre-clear each proposed trade or transfer” of NAPCO securities by its “executive officers and

directors and their [f]amily [m]embers[.]” At the very least, this presented a clear conflict of interest

with respect to his own insider sales.

        125.    Finally, none of the Class Period sales were made pursuant to Rule 10b5-1 trading

plans––which underscores the suspicious nature of those sales.

        H.      Loss Causation and Economic Loss

        126.    During the Class Period, as detailed herein, the Exchange Act Defendants made false

and misleading statements and/or engaged in a scheme to deceive the market and a course of conduct

that artificially inflated the price of NAPCO common stock and operated as a fraud or deceit on

Class Period purchasers of NAPCO common stock. As detailed above in ¶¶105-108, when the

Exchange Act Defendants’ prior misrepresentations and fraudulent conduct were disclosed and

became apparent to the market, the price of NAPCO common stock fell precipitously as the prior

artificial inflation dissipated. As a result of their purchases of NAPCO common stock during the

Class Period, Lead Plaintiff and other members of the Class suffered economic loss, i.e., damages,

under the federal securities laws.

        127.    By failing to disclose to investors the adverse facts detailed herein, the Exchange Act

Defendants presented a misleading picture of NAPCO’s business and prospects. The Exchange Act

Defendants’ false and misleading statements and omissions had the intended effect and caused

NAPCO common stock to trade at artificially inflated levels throughout the Class Period, reaching as

high as $41.25 per share on June 13, 2023.


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       128.    The precipitous decline in the price of NAPCO common stock was a direct result of

the nature and extent of the Exchange Act Defendants’ fraud finally being revealed to investors and

the market and/or the risks concealed by the Exchange Act Defendants’ fraud materializing and

causing losses to investors. The timing and magnitude of the decline in the price of NAPCO

securities negates any inference that the loss suffered by Lead Plaintiff and the other Class members

was caused by changed market conditions, macroeconomic or industry factors, or Company-specific

facts unrelated to the Exchange Act Defendants’ fraudulent conduct. The economic loss, i.e.,

damages, suffered by Lead Plaintiff and the other Class members was a direct result of the Exchange

Act Defendants’ fraudulent scheme to artificially inflate the price of NAPCO common stock and the

subsequent significant decline in the value of NAPCO common stock when the Exchange Act

Defendants’ prior misrepresentations and other fraudulent conduct were revealed and/or the risks

concealed by the Exchange Act Defendants’ fraud materialized.

       I.      No Safe Harbor

       129.    NAPCO’s “safe harbor” warnings accompanying its purportedly forward-looking

statements (“FLS”) issued during the Class Period were ineffective to shield those statements from

liability. The specific statements pled herein were not FLS or identified as such, but rather were

statements of present or historical fact. To the extent any statements can properly be considered

forward-looking, such statements were not accompanied by meaningful cautionary language

identifying important facts that could cause actual results to differ materially from those in the

purportedly FLS.

       130.    The Exchange Act Defendants are also liable for any false or misleading FLS pleaded

because, at the time each FLS was made, the speaker knew the FLS was false or misleading and/or

the FLS was authorized and approved by an executive officer of the Company who knew that the

FLS was false or misleading. None of the historic or present tense statements made by the Exchange
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Act Defendants were assumptions underlying or relating to any plan, projection, or statement of

future economic performance, as they were not stated to be such assumptions when made, nor were

any of the projections or forecasts made by the Exchange Act Defendants expressly related to or

stated to be dependent on those historic or present tense statements when made.

       J.      A Presumption of Reliance Applies

       131.    Lead Plaintiff is entitled to a presumption of reliance under the fraud-on-the market

doctrine, because the market for NAPCO’s publicly-traded stock was open, well-developed, and

efficient at all relevant times. As a result of the materially false and misleading statements and

failures to disclose alleged herein, NAPCO common stock traded at artificially inflated prices during

the Class Period. Lead Plaintiff and other Class members purchased NAPCO common stock in

reliance on the integrity of the market price of the stock and the market information relating to

NAPCO, and were damaged thereby.

       132.    At all relevant times, the market for NAPCO common stock was efficient for at least

the following reasons:

               (a)       NAPCO common stock met the requirements for listing, and were listed and

actively traded on the NASDAQ, a highly efficient, electronic stock market;

               (b)       NAPCO common stock traded at volumes during the Class Period that

reflected the impact of available information, and the trading price of the stock reacted promptly to

publicly available news and information;

               (c)       NAPCO filed periodic public reports with the SEC and otherwise regularly

communicated with analysts and investors using established market communication mechanisms,

including press releases; and




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                (d)     securities analysts and investors followed NAPCO and issued reports on its

prospects and performance, and information on NAPCO regularly entered the marketplace and was

reflected in the trading price of its stock.

        133.    As a result, the market for NAPCO common stock promptly digested relevant

information from publicly available sources and the trading price of the stock reflected such

information. Under these circumstances, all purchasers of NAPCO common stock during the Class

Period suffered similar injury by purchasing NAPCO common stock at artificially inflated prices and

a presumption of reliance applies.

        134.    A class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972).

Because the claims alleged are predicated in part upon omissions of material fact for which there

was a duty to disclose, positive proof of reliance is not a prerequisite to recovery. All that is

necessary is that the facts withheld be material in the sense that a reasonable investor might have

considered them important in making investment decisions. Given the importance of the Exchange

Act Defendants’ material omissions set forth above, that requirement is satisfied here.

        K.      Exchange Act Counts

                                               COUNT I

               For Violations of Section 10(b) of the Exchange Act and Rule 10b-5
                              Against the Exchange Act Defendants

        135.    Plaintiffs repeat, incorporate, and reallege each and every allegation set forth above,

except those that pertain only to the Securities Act claims and/or disclaim fraud or scienter

(including ¶3 and ¶13), as if fully set forth herein.




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       136.    This Count is brought pursuant to Section 10(b) of the Exchange Act, 15 U.S.C.

§78j(b), and Rule 10b-5 promulgated thereunder by the SEC, 17 C.F.R. §240.10b-5, on behalf of the

Class, against the Exchange Act Defendants (i.e., defendants NAPCO, Soloway and Buchel).

       137.    During the Class Period, the Exchange Act Defendants carried out a plan, scheme,

and course of conduct which was intended to, and did: (i) deceive the investing public, including

Plaintiffs and other Class members, as alleged herein; and (ii) cause Plaintiffs and other Class

members to purchase NAPCO common stock at artificially inflated prices.

       138.    During the Class Period, the Exchange Act Defendants disseminated or approved the

materially false and misleading statements specified above, which they knew or deliberately

disregarded were misleading in that they contained misrepresentations and failed to disclose material

facts necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading.

       139.    The Exchange Act Defendants: (a) employed devices, schemes, and artifices to

defraud; (b) made untrue statements of material fact and/or omitted to state material facts necessary

to make the statements not misleading; and (c) engaged in acts, practices, and a course of business

which operated as a fraud and deceit upon the purchasers of the Company’s common stock during

the Class Period.

       140.    As alleged herein, the Exchange Act Defendants acted with scienter in that they knew

that the public documents and statements they issued, approved, or otherwise disseminated were

materially false and misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced in

the issuance or dissemination of such statements or documents as primary violations of the federal

securities laws.


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        141.    Additionally, the Exchange Act Defendants participated in the fraudulent scheme

alleged herein by virtue of their receipt of information reflecting the true facts, their control over the

allegedly materially false and misleading statements and omissions, and their access to nonpublic

information.

        142.    Plaintiffs and the Class have suffered damages in that, in reliance on the integrity of

the market, they paid artificially inflated prices for NAPCO common stock. Plaintiffs and the Class

would not have purchased NAPCO common stock at the prices they paid, or at all, had they been

aware that the market prices had been artificially and falsely inflated by the Exchange Act

Defendants’ misleading statements and/or omissions.

        143.    As a direct and proximate result of the Exchange Act Defendants’ wrongful conduct,

Plaintiffs and the other members of the Class suffered damages in connection with their respective

purchases and sales of NAPCO common stock during the Class Period.

                                              COUNT II

                       For Violations of Section 20(a) of the Exchange Act
                                 Against the Officer Defendants

        144.    Plaintiffs repeat, incorporate, and reallege each and every allegation set forth above,

except those that pertain only to the Securities Act claims and/or disclaim fraud or scienter

(including ¶3 and ¶13), as if fully set forth herein.

        145.    This Count is brought pursuant to Section 20(a) of the Exchange Act, 15 U.S.C.

§78t(a), on behalf of the Class, against the Officer Defendants (i.e., defendants Soloway and

Buchel).

        146.    The Officer Defendants acted as controlling persons of NAPCO within the meaning

of Section 20(a) of the Exchange Act, as alleged herein. By virtue of their positions as officers




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and/or directors of NAPCO, the Officer Defendants had, and exercised, power and authority to cause

NAPCO to engage in the wrongful conduct complained of herein.

       147.    As set forth above, NAPCO and the Officer Defendants violated Section 10(b) and

Rule 10b-5 by their acts and/or omissions as alleged in this Complaint. Moreover, by virtue of their

positions as controlling persons, the Officer Defendants are liable pursuant to Section 20(a) of the

Exchange Act for NAPCO’s Section 10(b) and Rule 10b-5 violations. To the extent necessary, each

of the Officer Defendants culpably participated in the underlying violations given their knowledge of

and/or involvement in the wrongful conduct alleged herein.

       148.    As a direct and proximate result of the Officer Defendants’ wrongful conduct,

Plaintiffs and other members of the Class suffered damages in connection with their purchases of the

Company’s common stock during the Class Period. By reason of such conduct, the Officer

Defendants are liable pursuant to Section 20(a) of the Exchange Act.

VII.   ALLEGATIONS UNDER THE SECURITIES ACT

       149.    In this section of the Complaint, Plaintiff City of Warren Police and Fire Retirement

System asserts strict liability and negligence claims against Defendants pursuant to the Securities

Act, on behalf of those who purchased or otherwise acquired NAPCO common stock pursuant or

traceable to the Offering.

       150.    The Securities Act allegations herein are based in strict liability and negligence, and

Plaintiff expressly disclaims any allegation or inference of fraud or scienter for these allegations.

Accordingly, in this section of the complaint, Plaintiff expressly disclaims all allegations above

pertaining to the Exchange Act claims, including the allegations in ¶2 and ¶¶4-12, and in §VI. For

avoidance of doubt, the only allegations above that Plaintiff incorporates by reference in this section

of the complaint are those pertaining to the Securities Act claims set forth in: the preamble


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paragraph; ¶1, ¶¶3-4, and ¶13 (Introduction); ¶¶14-17 (Jurisdiction and Venue); ¶¶10-22 and ¶¶24-

29 (Parties); ¶¶30-35 (Class Action Allegations); and ¶¶36-38 (The Company and Its Business).

       A.      The Offering

       151.    On September 12, 2022, NAPCO filed a registration statement on Form S-3 (the

“Registration Statement”). The Registration Statement provided that defendants Soloway and

Buchel––identified as the “selling stockholders”––may, over time, offer and sell up to

3,830,449 shares of their NAPCO common stock in one or more offerings.

       152.    Under the “automatic shelf” registration process, the Registration Statement became

effective upon its filing, and allowed the selling stockholders to register securities for sale while

leaving them on the “shelf” until they decided to conduct an offering––provided that the Registration

Statement met all of the requirements of applicable securities rules and regulations.

       153.    On February 8, 2023, NAPCO filed a preliminary prospectus supplement to the

Registration Statement ( Registration No. 333-267376) pursuant to Rule 424(b)(7) (the “Preliminary

Prospectus”), in which the Company announced an offering of its common stock by the selling

stockholders, pursuant to the Registration Statement. The Preliminary Prospectus identified

Needham and William Blair as the underwriters for the offering.

       154.    On February 10, 2023, NAPCO filed a subsequent prospectus supplement to the

Registration Statement pursuant to Rule 424(b)(7) (the “Prospectus Supplement,” together with the

Preliminary Prospectus, the “Prospectus,” and together with the Registration Statement, the

“Offering Materials”). The Prospectus Supplement stated that the selling stockholders, defendants

Soloway and Buchel, were offering 2.1 million shares of their NAPCO common stock to the public

at $31.50 per share, which would collectively yield them $64,827,000 in proceeds, before expenses.

It further stated that Soloway and Buchel were granting the Underwriter Defendants, Needham and


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William Blair, the option to purchase up to an additional 300,000 shares of their common stock at

the offering price, less underwriting discounts and commissions, within 30 days.

       155.    The Offering closed on February 13, 2023, with defendants Soloway and Buchel,

respectively, selling 2,012,500 and 87,500 shares of their NAPCO common stock. On February 15,

2023, the Underwriter Defendants exercised in full their over-allotment option to purchase 300,000

additional shares from the selling stockholders, bringing the total number of shares sold in the

Offering by Soloway and Buchel to 2.4 million––and increasing their total proceeds (before

expenses) to $74,088,000. NAPCO did not receive any proceeds from the Offering, and incurred

expenses of $496,000 in connection with the Offering.

       156.    The Offering Materials incorporated by reference the following filings NAPCO made

with the SEC, each of which contained materially inaccurate statements of fact: (i) the quarterly

report on Form 10-Q for the first quarter of fiscal 2023, ended September 30, 2022, filed on

November 7, 2022 (the “1Q23 Form 10-Q”); and (ii) the quarterly report on Form 10-Q for the

second quarter of fiscal 2023, ended December 31, 2022, filed on February 6, 2023 (the “2Q23

Form 10-Q”).

       B.      The Offering Materials Contained Inaccurate Statements of Material
               Fact and Omitted Material Information Required to Be Disclosed
               Therein

       157.    The Offering Materials were negligently prepared and, as a result, contained untrue

statements of material fact, omitted to state other facts necessary to make the statements made not

misleading, and were not prepared in accordance with the rules and regulations governing their

preparation.

       158.    Specifically, as set forth below, NAPCO’s financial results incorporated by reference

in the Offering Materials violated GAAP, and were materially misstated with respect to numerous


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metrics. The Offering Materials also failed to disclose an existing, additional material weakness in

the Company’s internal controls over financial reporting.

                1.      NAPCO’s Materially Inaccurate Financial Reporting

        159.    On August 18, 2023, NAPCO admitted that its previously-issued interim financial

statements for, inter alia, the quarters ended September 30, 2022 (“1Q23”) and December 31, 2022

(“2Q23”) would need to be restated and “should no longer be relied upon.” On September 1, 2023,

NAPCO filed with the SEC amended quarterly reports on Form 10-Q/A that restated, inter alia,

NAPCO’s interim financial statements for 1Q23 and 2Q23 (the “Restatement”).

        160.    In announcing the need for the Restatement, NAPCO acknowledged that the

inaccurate financial metrics the Company had reported in the 1Q23 Form 10-Q and the 2Q23 Form

10-Q stemmed from the overstatement of inventory and understatement of cost of goods sold,

“resulting in overstated gross profit, operating income and net income” for those quarters.

        161.    Generally Accepted Accounting Principles (“GAAP”) generally encompasses those

conventions, rules and procedures necessary to define accepted accounting practices at a particular

time. SEC Regulation S-X states that financial statements filed with the SEC that are not prepared in

compliance with GAAP are “presumed to be misleading or inaccurate.” 17 C.F.R. §210.4-01(a)(1).

Regulation S-X also requires that interim financial statements filed with the SEC comply with

GAAP. 17 C.F.R. §210.10-01(a).

        162.    NAPCO has now admitted that the interim financial statements it issued to investors

and filed with the SEC for, inter alia, the first two quarters of fiscal 2023 were materially inaccurate,

presented in violation of GAAP, and “should no longer be relied upon.” Accordingly, each of the

interim financial statements for those quarters is presumed to be misleading and inaccurate pursuant

to the SEC’s Regulation S-X.


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       163.    By virtue of the Restatement, NAPCO itself has concluded that the now-restated

interim financial statements contained in the 1Q23 Form 10-Q and the 2Q23 Form 10-Q and

incorporated by reference in the Offering Materials were materially misstated––since only materially

misstated financial statements are to be corrected and re-reported on a retroactive basis. 7

       164.    Thus, there is no dispute that the Offering Materials contained materially inaccurate

financial statements.

       165.    NAPCO has also admitted that, in addition to the Company’s preexisting internal

control deficiencies, the Restatement “demonstrated an additional material weakness in [its] internal

controls over financial reporting.” 8

       166.    GAAP, as set forth in ASC Topic No. 250, Accounting Changes and Error

Corrections, provides that errors in previously-issued financial statements are to be corrected via a

restatement of the previously-issued financial statements. Adjustments related thereto are to be

reported in the restatement as “error corrections.”

       167.    When NAPCO issued the Restatement on September 1, 2023, it filed with the SEC

amended quarterly reports on Form 10-Q/A that corrected errors in the 1Q23 Form 10-Q and the

2Q23 Form 10-Q related to the Company’s reported inventory, cost of goods sold, net income,

income per share, operating income, gross profit, and gross margins.



7
       See, e.g., Financial Accounting Standards Board’s (“FASB”) Accounting Standards
Codification (“ASC”) Topic 250, Accounting Changes and Error Corrections, SEC Codification of
Staff Accounting Bulletins (“CSAB”) Topic 1M Financial Statements, Materiality and Topic 1-N,
Considering the Effects of Prior Year Misstatements When Quantifying Misstatements in Current
Year Financial Statements. According to the FASB, ASC is the source of authoritative GAAP to be
applied to nongovernmental entities.
8
        A material weakness is a deficiency, or a combination of deficiencies, in internal control over
financial reporting, such that there is a reasonable possibility that a material misstatement in an
entity’s financial statements will not be prevented or detected on a timely basis.

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       168.    The Offering Materials represented that NAPCO’s “financial information [was]

presented in accordance with U.S. GAAP . . . .” That representation was materially false and

misleading because––as NAPCO has now admitted––the 1Q23 Form 10-Q and the 2Q23 Form 10-

Q, which were incorporated by reference in the Offering Materials, overstated NAPCO’s inventory,

understated its cost of goods sold, and overstated its net income and related metrics.

       169.    The basic accounting precept that expenses be recorded in the same period in which

the corresponding benefit is realized is arguably the most fundamental tenet of accrual accounting.

See FASB Statement of Financial Accounting Concepts No. 8, Conceptual Framework for Financial

Reporting.

       170.    GAAP, as set forth in ASC Topic No. 330, Inventories, provides that the primary

objective of accounting for inventories is the proper determination of income, through the process of

matching appropriate costs against revenues.

       171.    These accounting principles are neither complex, nor a matter of subjective

interpretation or opinion. Because the Offering Materials incorporated by reference the 1Q23 Form

10-Q and the 2Q23 Form 10-Q, which were presented in violation of these provisions of GAAP, the

Offering Materials were materially false and misleading.

               2.      The Materially Inaccurate 1Q23 Form 10-Q Was Incorporated
                       in the Offering Materials

       172.    The Offering Materials incorporated by reference the 1Q23 Form 10-Q, which

NAPCO had filed with the SEC on November 7, 2022. For the quarter, the 1Q23 Form 10-Q

reported:

       •       Total inventory (current and non-current) of $63,837,000 as of September 30, 2022;

       •       Cost of goods sold of $21,326,000;

       •       Net income of $6,402,000;

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       •       Income per share of $0.17;

       •       Operating income of $7,249,000;

       •       Gross profit of $18,167,000; and

       •       Gross margins of 46%.

       173.    The statements referenced above in ¶172 were untrue statements of material fact

because––as NAPCO has now admitted: (i) its financial statements were presented in violation of

GAAP; and (ii) for 1Q23, its actual financial results were as follows:

       •       Total inventory (current and non-current) was $60,236,000 as of September 30,
               2022, and had been overstated by 5.98%;

       •       Cost of goods sold was $24,927,000, and had been understated by 14.45%;

       •       Net income was $3,084,000, and had been overstated by 107.59%;

       •       Income per share was $0.08, and had been overstated by 112.5%;

       •       Operating income was $3,648,000, and had been overstated by 98.71%;

       •       Gross profit was $14,566,000, and had been overstated by 24.72%; and

       •       Gross margins were approximately 36.9%, and had been overstated by 24.72%.

       174.    In addition, the 1Q23 Form 10-Q represented that NAPCO had two preexisting

“material weaknesses in internal control.” One material weakness “related to ineffective information

technology general controls (ITGCs) in the area of user access and lack of effective program change-

management over certain information technology (IT) systems that support the Company’s financial

reporting processes.” The second material weakness “related to the reserve for excess and slow-

moving inventory” and “was a result of a lack of effective review and reconciliation controls over []

forecasted sales and usage data.” The 1Q23 Form 10-Q further stated that, although “the Company’s

internal controls over financial reporting were not effective” as a result of these material weaknesses,




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the material weaknesses had “not result[ed] in any identified misstatements to [NAPCO’s] financial

statements and there were no changes to [its] previously released financial results.”

       175.    The statements referenced above in ¶174 were untrue statements of material fact

because––as NAPCO has now admitted: (i) it suffered from additional material weaknesses in

internal controls over financial reporting; and (ii) those additional material weaknesses in internal

controls had “result[ed] in . . . misstatements to the [Company’s] financial statements” for 1Q23.

               3.      The Materially Inaccurate 2Q23 Form 10-Q Was Incorporated
                       in the Offering Materials

       176.    The Offering Materials also incorporated by reference the 2Q23 Form 10-Q, which

NAPCO had filed with the SEC on February 6, 2023. For the quarter, the 2Q23 Form 10-Q

reported:

       •       Total inventory (current and non-current) of $64,192,000 as of December 31, 2022;

       •       Cost of goods sold of $22,852,000;

       •       Net income of $8,446,000;

       •       Income per share of $0.23;

       •       Operating income of $9,436,000;

       •       Gross profit of $19,462,000; and

       •       Gross margins of approximately 46%.

       177.    The statements referenced above in ¶176 were untrue statements of material fact

because––as NAPCO has now admitted: (i) its financial statements were presented in violation of

GAAP; and (ii) for 2Q23, its actual financial results were as follows:

       •       Total inventory (current and non-current) was $55,483,000 as of December 31, 2022,
               and had been overstated by 15.7%;

       •       Cost of goods sold was $27,960,000, and had been understated by 18.27%;

       •       Net income was $3,929,000, and had been overstated by 114.97%;

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       •       Income per share was $0.11, and had been overstated by 109.1%;

       •       Operating income was $4,328,000, and had been overstated by 118.02%;

       •       Gross profit was $14,354,000, and had been overstated by 35.59%; and

       •       Gross margins were approximately 33.9%, and had been overstated by 35.59%.

       178.    In addition, for the first six months of fiscal 2023, ended December 31, 2022, the

2Q23 Form 10-Q reported:

       •       Cost of goods sold of $44,178,000;

       •       Net income of $14,848,000;

       •       Income per share of $0.40;

       •       Operating income of $16,685,000;

       •       Gross profit of $37,629,000; and

       •       Gross margins of 46%.

       179.    The statements referenced above in ¶178 were untrue statements of material fact

because––as NAPCO has now admitted: (i) its financial statements were presented in violation of

GAAP; and (ii) for the first six months of fiscal 2023, its actual financial results were as follows:

       •       Cost of goods sold was $52,887,000, and had been understated by 16.47%;

       •       Net income was $7,013,000, and had been overstated by 111.72%;

       •       Income per share was $0.19, and had been overstated by 110.53%;

       •       Operating income was $7,976,000, and had been overstated by 109.2%;

       •       Gross profit was $28,920,000, and had been overstated by 30.11%; and

       •       Gross margins were approximately 35.4%, and had been overstated by 30.11%.

       180.    In addition, the 2Q23 Form 10-Q reiterated that NAPCO had two preexisting

“material weaknesses in internal control.” One material weakness “related to ineffective information

technology general controls (ITGCs) in the area of user access and lack of effective program change-

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management over certain information technology (IT) systems that support the Company’s financial

reporting processes.” The second material weakness “related to the reserve for excess and slow-

moving inventory” and “was a result of a lack of effective review and reconciliation controls over []

forecasted sales and usage data.” The 2Q23 Form 10-Q further stated that, although “the Company’s

internal controls over financial reporting were not effective” as a result of these material weaknesses,

the material weaknesses had “not result[ed] in any identified misstatements to [NAPCO’s] financial

statements and there were no changes to [its] previously released financial results.”

       181.    The statements referenced above in ¶180 were untrue statements of material fact

because––as NAPCO has now admitted: (i) it suffered from additional material weaknesses in

internal controls over financial reporting; and (ii) those additional material weaknesses in internal

controls had “result[ed] in . . . misstatements to the [Company’s] financial statements” for 1Q23.

       C.      Securities Act Counts

                                             COUNT III

                        For Violations of Section 11 of the Securities Act
                                    Against All Defendants

       182.    For purposes of this Count, Plaintiff City of Warren Police and Fire Retirement

System repeats, incorporates, and realleges each and every allegation set forth above relating to the

Securities Act claims as if fully set forth herein, and expressly disclaims each and every allegation

relating to the Exchange Act claims, including any allegation or implication of fraud, recklessness,

or intentional misconduct.

       183.    For avoidance of doubt, the only allegations that Plaintiff incorporates by reference in

this Count are those pertaining to the Securities Act claims set forth in: the preamble paragraph; ¶1,

¶¶3-4, and ¶13 (Introduction); ¶¶14-17 (Jurisdiction and Venue); ¶¶10-22 and ¶¶24-29 (Parties);

¶¶30-35 (Class Action Allegations); ¶¶36-38 (The Company and Its Business); and §VII


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(Allegations Under the Securities Act, ¶¶149-181). Plaintiff expressly disclaims all allegations

above pertaining to the Exchange Act claims, including the allegations in ¶2 and ¶¶4-12, and in §VI.

       184.      This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C. §77k,

on behalf of the Class, against all Defendants. This Count does not allege, and does not intend to

allege, fraud or scienter, which are not elements of a Section 11 claim, and any implication of fraud

or scienter is expressly disclaimed.

       185.      The Registration Statement, which was incorporated in and formed part of the

Offering Materials, contained inaccurate and misleading statements of material fact, omitted facts

necessary to render statements therein non-misleading, and omitted to state material facts required to

be stated therein.

       186.      NAPCO was the registrant for the Offering. As an issuer of securities to the public,

NAPCO is strictly liable to Plaintiff and the Class for the misstatements and omissions.

       187.      The Individual Defendants each signed and/or authorized the signing of the

Registration Statement. Each of the Individual Defendants had a duty to make a reasonable and

diligent investigation of the truthfulness and accuracy of the statements contained in the Registration

Statement. They had a duty to ensure that such statements were true and accurate, that there were no

omissions of material fact that would make the statements misleading, and that the Registration

Statement contained all facts required to be stated therein. By virtue of the Individual Defendants’

failure to exercise reasonable care, the Registration Statement contained material misstatements

and/or omissions of material facts. As such, the Individual Defendants are strictly liable to Plaintiff

and the Class.

       188.      The Underwriter Defendants failed to perform adequate due diligence in connection

with their role as underwriters and were negligent in failing to ensure that the Registration Statement


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for the Offering was prepared properly and accurately. The Underwriter Defendants’ failure to

conduct an adequate due diligence investigation was a substantial factor leading to the harm

complained of herein. As such, the Underwriter Defendants are strictly liable to Plaintiff and the

Class.

         189.   Defendants were responsible for the contents and dissemination of the Registration

Statement. None of the Defendants made a reasonable investigation or possessed reasonable

grounds to believe that the statements in the Offering Materials were complete, accurate or non-

misleading.

         190.   By reason of the conduct herein alleged, each Defendant violated, and/or controlled a

person who violated, Section 11 of the Securities Act.

         191.   Plaintiff and the other members of the Class purchased NAPCO common stock

pursuant or traceable to the Registration Statement for the Offering and have sustained damages as a

result. The price of the stock has declined substantially subsequent and due to Defendants’

violations.

         192.   At the time of their purchases of NAPCO common stock, Plaintiff and other members

of the Class were without knowledge of the facts concerning the wrongful conduct alleged herein,

and could not have reasonably discovered those facts prior to the disclosures herein.

         193.   Less than one year has elapsed from the time that Plaintiff discovered, or reasonably

could have discovered, the facts upon which this claim is based to the time this action was filed.

Less than three years has elapsed between the time the securities were offered to the public and the

time this action was filed.




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                                            COUNT IV

                    For Violations of Section 12(a)(2) of the Securities Act
                                   Against All Defendants

       194.    For purposes of this Count, Plaintiff City of Warren Police and Fire Retirement

System repeats, incorporates, and realleges each and every allegation set forth above relating to the

Securities Act claims as if fully set forth herein, and expressly disclaims each and every allegation

relating to the Exchange Act claims, including any allegation or implication of fraud, recklessness,

or intentional misconduct.

       195.    For avoidance of doubt, the only allegations that Plaintiff incorporates by reference in

this Count are those pertaining to the Securities Act claims set forth in: the preamble paragraph; ¶1,

¶¶3-4, and ¶13 (Introduction); ¶¶14-17 (Jurisdiction and Venue); ¶¶10-22 and ¶¶24-29 (Parties);

¶¶30-35 (Class Action Allegations); ¶¶36-38 (The Company and Its Business); §VII (Allegations

Under the Securities Act, ¶¶149-181); and ¶¶182-193 (Count III). Plaintiff expressly disclaims all

allegations above pertaining to the Exchange Act claims, including the allegations in ¶2 and ¶¶4-12,

and in §VI.

       196.    This Count is brought pursuant to Section 12(a)(2) of the Securities Act, 15 U.S.C.

§77l, on behalf of the Class, against all Defendants. This Count does not allege, and does not intend

to allege, fraud or scienter, which are not elements of a Section 12(a)(2) claim, and any implication

of fraud or scienter is expressly disclaimed.

       197.    Defendants were sellers and offerors and/or solicitors of purchasers of the common

stock offered pursuant to the Offering Materials and issued in connection with the Offering. Plaintiff

and other members of the Class purchased or otherwise acquired NAPCO common stock pursuant to

the Offering. The Offering Materials contained a defective and inaccurate Prospectus that




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Defendants used to induce Plaintiff and the other members of the Class to purchase the common

stock registered in the Offering.

       198.    The Underwriter Defendants participated in the preparation and dissemination of the

defective and inaccurate Prospectus for their own financial benefit. But for their participation in the

Offering, including their solicitation, the Offering could not, and would not, have been

accomplished. Specifically, the Underwriter Defendants:

               (a)     made the decision to conduct the Offering and do it at the price set forth in the

Prospectus. The Underwriter Defendants drafted, revised and/or approved the Prospectus. The

Prospectus was calculated to create interest in NAPCO common stock and was widely distributed

by, or on behalf of, the Underwriter Defendants for that purpose; and

               (b)     conceived and planned the Offering and orchestrated all activities necessary to

affect the sale of NAPCO common stock to the investing public by issuing, promoting and

supervising the distribution and ultimate sale of NAPCO common stock to the investing public.

       199.    The Prospectus contained untrue statements of material fact, and/or concealed or

failed to disclose material facts, as detailed above. Defendants owed Plaintiff and the other members

of the Class who purchased NAPCO common stock pursuant to the Prospectus the duty to make a

reasonable and diligent investigation of the statements contained in the Prospectus to ensure that

such statements were true and that there was no omission to state a material fact required to be stated

in order to make the statements contained therein not misleading.

       200.    Plaintiff did not know, nor in the exercise of reasonable diligence could have known,

of the untruths and omissions contained in the Prospectus at the time Plaintiff acquired NAPCO

common stock.




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       201.    By reason of the conduct alleged herein, Defendants violated Section 12(a)(2) of the

Securities Act. As a direct and proximate result of such violations, Plaintiff and the other members

of the Class who purchased NAPCO common stock pursuant to the Prospectus sustained damages in

connection with their purchases. Accordingly, Plaintiff and the other members of the Class who

hold the common stock issued pursuant to the Prospectus have the right to rescind and recover the

consideration paid for their shares, and hereby tender their shares to the defendants sued herein.

Class members who have sold their common stock seek damages to the extent permitted by law.

                                            COUNT V

                       For Violations of Section 15 of the Securities Act
                             Against the Individual Defendants

       202.    For purposes of this Count, Plaintiff City of Warren Police and Fire Retirement

System repeats, incorporates, and realleges each and every allegation set forth above relating to the

Securities Act claims as if fully set forth herein, and expressly disclaims each and every allegation

relating to the Exchange Act claims, including any allegation or implication of fraud, recklessness,

or intentional misconduct.

       203.    For avoidance of doubt, the only allegations that Plaintiff incorporates by reference in

this Count are those pertaining to the Securities Act claims set forth in: the preamble paragraph; ¶1,

¶¶3-4, and ¶13 (Introduction); ¶¶14-17 (Jurisdiction and Venue); ¶¶10-22 and ¶¶24-29 (Parties);

¶¶30-35 (Class Action Allegations); ¶¶36-38 (The Company and Its Business); §VII (Allegations

Under the Securities Act, ¶¶149-181); ¶¶182-193 (Count III); and ¶¶194-201 (Count IV). Plaintiff

expressly disclaims all allegations above pertaining to the Exchange Act claims, including the

allegations in ¶2 and ¶¶4-12, and in §VI.

       204.    This Count is brought pursuant to Section 15 of the Securities Act, 15 U.S.C. §77o,

on behalf of the Class, against the Individual Defendants. This Count does not allege, and does not

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intend to allege, fraud or scienter, which are not elements of a Section 15 claim, and any implication

of fraud or scienter is expressly disclaimed.

       205.    The Individual Defendants each were control persons of NAPCO by virtue of their

positions as directors and/or senior officers of NAPCO. The Individual Defendants each had a series

of direct and/or indirect business and/or personal relationships with other directors and/or officers

and/or major shareholders of NAPCO.

       206.    The Individual Defendants each were culpable participants in the primary violations

of Sections 11 and 12(a)(2) of the Securities Act alleged herein, based on their having signed or

authorized the signing of the Offering Materials and having otherwise participated in the process

which allowed the Offering to be successfully completed.

VIII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

       A.      Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure and certifying the Class accordingly, designating Plaintiffs as class

representatives, and appointing Lead Counsel as Class Counsel;

       B.      Awarding compensatory damages in favor of Plaintiffs and the other Class members

against all Defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, together with interest thereon;

       C.      With respect to the Securities Act claims, awarding rescission or a rescissory measure

of damages, to the extent available under the Securities Act, together with prejudgment interest

thereon;

       D.      Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in this

action, including, but not limited to, counsel fees and expert fees; and


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          E.     Granting such other, further, and/or different relief as the Court deems just and

proper.

IX.       JURY DEMAND

          Plaintiffs hereby demand a trial by jury.

DATED: February 16, 2024                        ROBBINS GELLER RUDMAN
                                                 & DOWD LLP
                                                SAMUEL H. RUDMAN
                                                DAVID A. ROSENFELD
                                                ERIN W. BOARDMAN

                                                              /s/ Erin W. Boardman
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                                   Counsel for City of Warren Police and Fire
                                   Retirement System




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                          CERTIFICATION OF NAMED PLAINTIFF
                       PURSUANT TO FEDERAL SECURITIES LAWS
              City of Warren Police and Fire Retirement System ("Plaintiff') declares:
              1.    Plaintiff has reviewed a complaint and authorized its filing.
              2.    Plaintiff did not acquire the security that is the subject of this action at
    the direction of plaintiff's counsel or in order to participate in this private action or
    any other litigation under the federal securities laws.
          3.        Plaintiff is willing to serve as a representative party on behalf of the
    class, including providing testimony at deposition and trial, if necessary.
          4.       Plaintiff has made the following transaction(s) during the Class Period
   in the securities that are the subject of this action: See attached Schedule A.
          5.       Plaintiff has not sought to serve or served as a representative party in a
   class action that was filed under the federal securities laws within the three-year
   period prior to the date of this Certification except as detailed below:
                     Colli11sville Police Pension Board v. Discovery, Inc., No. I :22-cv-08171 (S.D.N .Y.)
                                       Ryan v. FIGS, Inc., No. 2:22-cv-07939 (C.D. Cal.)
                                Waswick v. Torrid Holdings Inc. , No. 2:22-cv-08375 (C.D. Cal.)
                                   Schaeffer v. Signature Bank, No. I :23-cv-0 1921 (E.D.N.Y.)


         6.        Plaintiff will not accept any payment for serving as a representative
  party on behalf of the class beyond the Plaintiffs pro rata share of any recovery,
  except such reasonable costs and expenses (including lost wages) directly relating
  to the representation of the class as ordered or approved by the court.
        I declare under penalty of perjury that the foregoing is true and correct.
 Executed this~ day of February, 2024.

                                                         City of Warren Police and Fire Retirement
                                                         System




                                                        Its:       ehQ' i rpe.£s:o C\
                                                                                                             NAPCO
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                                                 SCHEDULE A

                                         SECURITIES TRANSACTIONS

                             Stock

                             Date                       Amount of
                           Acquired                   Shares Acquired   Price

                          12/22/2022                       2,813        $26.47
                          12/22/2022                       1,401        $26.47
                          12/23/2022                        725         $26.41
                          12/23/2022                        321         $26.41
                          12/30/2022                         5          $27.07
                          02/09/2023                        248         $31.50

Prices listed are rounded up to two decimal places.
